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    8                     UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11   CINDY WARNER,                          Case No. 5:21-cv-00866-JWH-KK
   12               Plaintiff,
                                               ORDER GRANTING
   13         v.                               DEFENDANTS’ MOTION TO
                                               DISMISS [ECF No. 30]
   14   AMAZON.COM, INC.;
        AMAZON WEB SERVICES, INC.;
   15     and
        TODD WEATHERBY, in his
   16     individual and professional
          capacities.
   17
                    Defendants.
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    1           Before the Court is the motion of Defendants Amazon.com, Inc. and
    2   Amazon Web Services, Inc. (jointly, “Amazon”) and Defendant Todd
    3   Weatherby to dismiss the Amended Complaint of Plaintiff Cindy Warner.1 The
    4   Court finds this matter appropriate for resolution without a hearing. See
    5   Fed. R. Civ. P. 78; L.R. 7-15. After considering the papers filed in support and in
    6   opposition,2 the Court orders that the Motion is GRANTED, as set forth
    7   herein.
    8                                   I. BACKGROUND
    9   A.      Procedural Background
   10           Cindy Warner was an executive with Amazon.3 She filed her Complaint
   11   commencing this action in May 2021,4 and she filed the operative Amended
   12   Complaint in August 2021. Later that month, Defendants filed the instant
   13   Motion, which is now fully briefed.
   14           In this action, Warner asserts the following nine claims for relief:
   15         sex and gender discrimination in violation of Title VII of the Civil Rights
   16           Act of 1964;
   17         retaliation in violation of Title VII;
   18         violations of the Equal Pay Act (the “EPA”);
   19         retaliation in violation of the EPA;
  20          discrimination in violation of California’s Fair Employment and Housing
   21           Act (“FEHA”);
   22         retaliation in violation of FEHA;
   23
  24    1
              Defs.’ Mot. to Dismiss (“Motion”) [ECF No. 30].
   25   2
              The Court considered the following papers: (1) Am. Compl. (“Amended
        Complaint”) [ECF No. 28]; (2) the Motion (including its attachments); (3) Pl.’s
   26   Opp’n to the Motion (the “Opposition”) [ECF No. 31]; and (4) Def.’s Reply in
        Supp. of the Motion (the “Reply”) [ECF No. 34].
   27   3
              See, e.g., Amended Complaint ¶ 10.
   28   4
              Compl. [ECF No. 1].

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    1         aiding and abetting in violation of FEHA;
    2         violations of the California Equal Pay Act (the “CEPA”); and
    3         retaliation in violation of the CEPA.
    4   B.      Factual Background
    5           The facts as alleged in the Amended Complaint are recounted below.
    6           Warner began working for Amazon in February 2020 for a total annual
    7   compensation of around $890,000 per year.5 During the recruitment process,
    8   Defendant Todd Weatherby—Warner’s recruiter and eventual boss—told
    9   Warner that Warner was qualified for a Vice President, Level 10 (“L10”)
   10   position, but that Amazon did not hire L10 positions externally.6 Nevertheless,
   11   Warner was told during the recruitment process that she would be Weatherby’s
   12   replacement for succession planning purposes and that no other L10 employees
   13   were being groomed for that role.7 In addition, she was told that she could apply
   14   for an L10 role anywhere in the company once she started work.8 When Warner
   15   accepted the job, it was as an L8 employee in the Professional Services division
   16   (“ProServe”).9
   17           Weatherby hired Warner and then served as her boss.10 Warner alleges
   18   that Weatherby was in charge of decisions regarding hiring and firing,
   19   professional duties, and compensation for ProServe employees at Warner’s
  20    level.11
   21
   22
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        5
                Id. at ¶ 45.
  24    6
                Id. at ¶ 40.
   25   7
                Id. at ¶ 42.
        8
   26           Id.
        9
                Id. at ¶¶ 10 & 43.
   27   10
                Id. at ¶ 47.
   28   11
                Id.

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    1         In October 2020, Warner asked Weatherby for more responsibility.12
    2   Weatherby rejected Warner’s request, declaring that she had not proved capable
    3   of taking on more responsibility and that she did not understand Amazon’s
    4   culture.13 Weatherby added that Warner has “sharp elbows” and does not listen
    5   well enough.14
    6         During Warner’s time at ProServe, she received positive reviews from
    7   colleagues and subordinates.15 In addition, she sometimes escalated issues with
    8   respect to possible discrimination against female employees in the division.16 In
    9   April 2021, for example, Warner raised issues regarding four female employees
   10   whom Warner believed were being paid less than male employees performing
   11   the same work at the same level.17
   12         In November 2020, Warner learned that Andy Bailey, a peer who was also
   13   at the L8 level, was leaving.18 Warner suggested to Weatherby that the group
   14   that Bailey directed could be combined with the group that Warner directed.19
   15   Weatherby rebuffed that idea, telling Warner that she lacked the competence
   16   needed for the position.20
   17         Around January 2021, Warner read a document showing that Amazon
   18   planned to hire Bailey’s replacement at the L10 level.21 Warner asked to be
   19   considered for that role.22 Weatherby told Warner that he would neither
  20
        12
              Id. at ¶ 51.
   21   13
              Id. at ¶ 52.
   22   14
              Id.
        15
   23         Id. at ¶¶ 56 & 57.
        16
              Id. at ¶ 54.
  24    17
              Id.
   25   18
              Id. at ¶ 58.
        19
   26         Id.
        20
              Id.
   27   21
              Id. at ¶ 59.
   28   22
              Id.

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    1   consider Warner nor anybody else in her L8 peer group for an L10 position.23
    2   Amazon began distributing externally a job description for that L10 position,
    3   contradicting what the company told Warner about not hiring external
    4   candidates for L10 positions.24
    5         Warner alerted Human Resources that she was not being allowed to apply
    6   for that L10 position.25 Eventually, Human Resources escalated the matter to
    7   Lou Manfredo—the head of Human Resources for Amazon Web Services—who
    8   declared that the hiring decision was up to Weatherby.26 Weatherby was free to
    9   consider, or not to consider, Warner for that position.27
   10         The next month, Warner had a heated conflict with the ProServe
   11   director—Dave Lavanty—over a decision regarding a customer relationship.28
   12   Warner proposed a telephone call to resolve the matter, and she asked that Ed
   13   Salas join the call as a Human Resources representative.29 On the call, Lavanty
   14   called Warner a “nobody” and a “bitch.”30 In addition, Lavanty told Warner
   15   that he was “going to make damn sure you go nowhere in this organization,”
   16   and he complained that Warner and Amanda Rankin, who was one of Warner’s
   17   direct reports, “are idiots!”31 Lavanty added, “[n]o one wants to work with
   18   either of you.”32 Throughout the call, Salas attempted to intervene and to calm
   19
  20
   21   23
              Id. at ¶ 60.
   22   24
              Id. at ¶ 61.
        25
   23         Id. at ¶ 65.
        26
              Id. at ¶ 68.
  24    27
              Id.
   25   28
              See id. at ¶¶ 69-80.
        29
   26         Id. at ¶ 73.
        30
              Id. at ¶¶ 76-78.
   27   31
              Id. at ¶ 76.
   28   32
              Id.

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    1   Lavanty down.33 The call ended when Lavanty disconnected—it is not clear
    2   whether Lavanty purposely hung up.34
    3         After the call ended, Salas told Warner that Salas had “never ever
    4   witnessed an assault on another employee like this in all my years in HR.”35
    5   Salas reported the matter to Employee Relations, but the ultimate decision of
    6   what to do was left to Weatherby.36 Around March 8, 2021, Warner had a
    7   telephone call with Weatherby, Lavanty, and Toni Handler from Human
    8   Resources.37 On that call—which Handler and Warner thought was going to
    9   entail a discussion regarding Lavanty’s behavior toward Warner—Weatherby
   10   did not admonish Lavanty for Lavanty’s behavior.38
   11         Three days later, Weatherby announced that Lavanty had been promoted
   12   to Vice-President.39 That announcement came during a year when Lavanty’s
   13   team had a very high number of complaints for misbehavior such as misconduct,
   14   harassment, retaliation, and discrimination.40 Warner alleges that the
   15   announcement was also made at a time when women in ProServe were treated
   16   unfairly and when employees who spoke out were punished.41
   17         In early April 2021, Warner’s counsel transmitted a letter to Amazon
   18   detailing Warner’s allegations against Defendants of discrimination and
   19   retaliation.42 Three weeks later, Warner was terminated from her position in
  20
        33
   21        Id. at ¶¶ 75, 77, & 79.
        34
             Id. at ¶ 79.
   22   35
             Id. at ¶ 80.
   23   36
             Id. at ¶¶ 80-83.
        37
  24         Id. at ¶¶ 84 & 86.
        38
             Id. at ¶¶ 89-93.
   25   39
             Id. at ¶¶ 94-95.
   26   40
             Id. at ¶ 95. The Amended Complaint is vague regarding Lavanty’s
        connection to that alleged misbehavior.
   27   41
             See id. at ¶¶ 110-139.
   28   42
             Id. at ¶ 140.

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    1   ProServe.43 Amazon told Warner that she had to find a new job outside of
    2   ProServe within two months, or she would be terminated from the Amazon
    3   entirely.44 While Warner was searching for a new position, Amazon stripped her
    4   of her supervisory responsibilities—an act that Warner believes hampered her
    5   job search.45 Warner did not find another position within Amazon, and she was
    6   involuntarily terminated on June 30, 2021.46
    7                                II. LEGAL STANDARD
    8   A.     Rule 12(b)(6)—Failure to State a Claim
    9          A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the
   10   claims asserted in a complaint. See Navarro v. Block, 250 F.3d 729, 732 (9th Cir.
   11   2001). In ruling on a Rule 12(b)(6) motion, “[a]ll allegations of material fact are
   12   taken as true and construed in the light most favorable to the nonmoving party.”
   13   Am. Family Ass’n v. City & County of San Francisco, 277 F.3d 1114, 1120 (9th Cir.
   14   2002). Although a complaint attacked by a Rule 12(b)(6) motion “does not need
   15   detailed factual allegations,” a plaintiff must provide “more than labels and
   16   conclusions.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
   17          To state a plausible claim for relief, the complaint “must contain
   18   sufficient allegations of underlying facts” to support its legal conclusions. Starr
   19   v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). “Factual allegations must be
  20    enough to raise a right to relief above the speculative level on the assumption
   21   that all the allegations in the complaint are true (even if doubtful in fact) . . . .”
   22   Twombly, 550 U.S. at 555 (citations and footnote omitted). Accordingly, to
   23   survive a motion to dismiss, a complaint “must contain sufficient factual matter,
  24    accepted as true, to state a claim to relief that is plausible on its face,” which
   25
        43
   26          Id. at ¶ 141.
        44
               Id. at ¶ 142.
   27   45
               Id. at ¶¶ 144-148.
   28   46
               Id. at ¶ 169.

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    1   means that a plaintiff must plead sufficient factual content to “allow[] the Court
    2   to draw the reasonable inference that the defendant is liable for the misconduct
    3   alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks
    4   omitted). A complaint must contain “well-pleaded facts” from which the Court
    5   can “infer more than the mere possibility of misconduct.” Id. at 679.
    6   B.    Rule 15(a)—Leave to Amend
    7         A district court “should freely give leave when justice so requires.”
    8   Fed. R. Civ. P. 15(a). The purpose underlying the liberal amendment policy is to
    9   “facilitate decision on the merits, rather than on the pleadings or
   10   technicalities.” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000). Therefore,
   11   leave to amend should be granted unless the Court determines “that the
   12   pleading could not possibly be cured by the allegation of other facts.” Id.
   13   (quoting Doe v. United States, 8 F.3d 494, 497 (9th Cir. 1995)).
   14                                  III. DISCUSSION
   15         Defendants argue that Warner fails to state a claim for gender
   16   discrimination under Title VII and the FEHA; fails to state a discrimination
   17   claim under the EPA or the CEPA; and fails to allege retaliation plausibly under
   18   state or federal law. With respect to the claims against Weatherby, Defendants
   19   contend that Warner’s claim for aiding and abetting fails as a matter of law and
  20    that her claims against Weatherby in his individual capacity must be dismissed.
   21   A.    Gender Discrimination Under Title VII and FEHA
   22         Title VII and FEHA prohibit employers from discriminating against
   23   employees because of their sex in compensation, terms, conditions, or privileges
  24    of employment. See 42 U.S.C. § 2000e-2(a)(1); Cal. Gov’t Code § 12940(a). A
   25   plaintiff alleging discrimination under Title VII establishes a prima facie case of
   26   discrimination by demonstrating that (1) she is a member of a protected class;
   27   (2) she was qualified for his position and performing satisfactorily; (3) she
   28   experienced an adverse employment action, and (4) similarly situated

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    1   individuals outside her protected class were treated more favorably or other
    2   circumstances surrounding the adverse employment action give rise to an
    3   inference of discrimination. See Pavel v. University of Oregon, 774 F. Appx. 1002,
    4   1025 (9th Cir. 2019) (citing Hawn v. Exec. Jet Mgmt. Inc., 615 F.3d 1151, 1156
    5   (9th Cir. 2010)). Importantly, under Title VII, “[d]isparate treatment occurs
    6   ‘where an employer has treated a particular person less favorably than others
    7   because of a protected trait.’” Wood v. City of San Diego, 678 F.3d 1075, 1081
    8   (9th Cir. 2012) (quoting Ricci v. DeStefano, 557 U.S. 557, 577 (2009)) (emphasis
    9   added). Courts apply the same standard to discrimination claims under FEHA.
   10   See Metoyer v. Chassman, 504 F.3d 919, 941 (9th Cir. 2007) (“California courts
   11   apply the Title VII framework to claims brought under FEHA.”).
   12          Defendants argue that Warner has not alleged any facts showing that she
   13   experienced disparate treatment because of her gender.47 Warner responds that
   14   she alleged that Weatherby held Warner and other female employees to higher
   15   performance standards, subjected them to harsher discipline, and provided them
   16   with fewer resources and less power than their male counterparts.48 Warner also
   17   contends that she alleges that she was paid less than her male colleagues doing
   18   similar work.49
   19          Warner’s Amended Complaint contains some direct allegations of
  20    discrimination:
   21         A woman was not taken seriously when she complained to Weatherby that
   22          a male employee had taken credit for her work.50 Warner alleges that that
   23
  24
   25   47
              Motion 9:14-15.
   26   48
              Opposition 13:19-23; see also Amended Complaint ¶¶ 113, 114, 120-126, &
        133-135.
   27   49
              Opposition 13:23-25; see also Amended Complaint ¶¶ 99-106.
   28   50
              Amended Complaint ¶ 114.

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    1           sort of dynamic was “typical,” but she does not provide a second
    2           example.51
    3         A male employee was chronically absent from meetings and delinquent on
    4           assignments, but he was rated as meeting expectations, while female
    5           employees were berated for similar behavior.52 Warner admits, however,
    6           that the delinquent male employee was terminated within a year.53
    7           Moreover, Warner provides only one vague example of a female employee
    8           being treated differently: she alleges that she was “scolded” for not
    9           having fully read a paper before a meeting.54
   10         Weatherby praised Warner, saying, “I like your tone today! You are
   11           asking questions, showing curiosity and not making statements of
   12           judgments. Keep it up.”55 Warner alleges that that statement shows that
   13           Weatherby wanted Warner to be “submissive and unassertive, which . . .
   14           is not what he expects from his male direct reports.”56
   15         Weatherby criticized Warner for failing to demonstrate frugality when she
   16           provided holiday care packages to employees.57 Warner alleges that her
   17           male peers took similar actions.58 It is unclear, however, whether those
   18           male employees reported to Weatherby or were similarly chastised.59
   19
   20
   21   51
              Id. It is possible that Warner means to allege a second example in
        paragraphs 126 and 127 of the Amended Complaint, but the description is
   22   unclear.
        52
   23         Id. at ¶¶ 120 & 121.
        53
              Id. at ¶ 122.
   24   54
              Id. at ¶ 123.
   25   55
              Id.
        56
   26         Id. at ¶ 124.
        57
              Id. at ¶ 125.
   27   58
              Id.
   28   59
              Id.

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    1         While the Amended Complaint is fuzzy in its description, it seems that
    2           Warner accuses Weatherby of taking credit for one of Warner’s ideas.60
    3         Warner accuses Lavanty of making an offensive remark regarding a gay
    4           Amazon employee. According to Warner, Lavanty “discounted the
    5           opinion of the gay male employee who authored” a critical blog post “due
    6           to ‘the choices he made in his life.’”61 While those comments may have
    7           been discriminatory, Warner fails to provide sufficient detail to explain
    8           how or why the Court or the trier of fact should come to that conclusion.
    9         Warner alleges that Weatherby tends to criticize women for conduct that
   10           did not elicit his criticism when performed by men.62 To support that
   11           claim, Warner notes that Weatherby has chided her for having “sharp
   12           elbows,” while he tolerates such behavior from men.63 Warner then
   13           observes that other male managers act as bullies.64
   14         Most seriously, Warner alleges that she was paid less than Lavanty
   15           despite performing similar work.65 Warner lists responsibilities that she
   16           bore from her L8 position and details how similar they were to the
   17           responsibilities of someone with an L10 position.66 What is unclear from
   18           the Amended Complaint, however, is whether employees in L10 positions
   19           had responsibilities or authority that Warner lacked, which could explain
   20           the discrepancy.67
   21
   22
        60
   23           See id. at ¶¶ 126 & 127.
        61
                Id. at ¶ 132.
   24   62
                Id. at ¶ 135.
   25   63
                Id.
        64
   26           Id.
        65
                Id. at ¶¶ 99-106.
   27   66
                Id.
   28   67
                Id.

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    1           A plaintiff alleging discrimination “must at least show ‘actions taken by
    2   the employer from which one can infer, if such actions remain unexplained, that
    3   it is more likely than not that such actions were based on a [prohibited]
    4   discriminatory criterion.” Vizcaino v. Areas USA, Inc., 2015 WL 13573816, at *4
    5   (C.D. Cal. 2015) (citations and quotations omitted). Moreover, the plaintiff
    6   “must show that gender is a substantial factor in the discrimination” and that
    7   had her gender been different, she would not have been treated in the same
    8   manner. Id. (internal citations omitted).
    9           Warner fails to meet that burden. The most specific allegations of in the
   10   Amended Complaint are ultimately examples of how Warner was mistreated by
   11   Lavanty and how Weatherby gave preferential treatment to Lavanty.68 While
   12   those dynamics could be explained by gender, they could just as easily be
   13   explained by Lavanty having a stronger relationship with Weatherby than he did
   14   with Warner. The allegations that most clearly allege gender discrimination, by
   15   contrast, tend to be “broad and conclusive” and, therefore, insufficient to state
   16   a claim. Ryan v. Santa Clara Valley Transp. Auth., 2017 WL 1175596, at *13
   17   (N.D. Cal. Mar. 30, 2017). When Warner alleges systematic mistreatment of
   18   women, either she fails to provide specific details to substantiate the claim69 or
   19   the example fails for another reason—such as the assertion that a male employee
   20   received preferential treatment despite the fact that he was terminated within a
   21   year.
   22           Thus, Warner fails to state a claim for gender discrimination under
   23   Title VII and FEHA. The Court is not persuaded, however, that amendment
   24
        68
   25           The Amended Complaint also details a number of grievances with
        Amazon’s workplace culture that are not obviously connected to a claim for
   26   gender discrimination and go far beyond Rule 8’s requirement that a complaint
        contain a “short plan statement of the claim showing that the pleader is entitled
   27   to relief.” Fed. R. Civ. P. 8(a)(2).
        69
                Except for the single example, discussed above, of a female employee
   28   alleging that a male employee used her work without providing her credit.

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    1   would be futile. According to Warner, women at Amazon believe that they face
    2   systematic discrimination.70 Moreover, Warner describes an environment in
    3   which women—including her—felt maligned and belittled. Accordingly, the
    4   Title VII and FEHA claims are DISMISSED with leave to amend.
    5   B.    Discrimination Under the EPA and CEPA
    6         Defendants argue that Warner does not allege that she was paid less than
    7   any male peers who performed equal work.71 Warner counters that she alleges
    8   that she “was paid less than male employees who were performing equivalent
    9   jobs in similar conditions.”72
   10         To establish a prima facie case of discrimination under the Equal Pay Act,
   11   a plaintiff must show “that employees of the opposite sex were paid different
   12   wages for equal work.” Freyd v. University of Oregon, 990 F.3d 1211, 1219
   13   (quoting Stanley v. Univ. of S. Cal., 178 F.3d 1069, 1073-74 (9th Cir. 1999)). The
   14   plaintiff must show that the jobs are “substantially equal.” Id. at 1220.
   15   “Substantially equal does not necessarily mean identical.” Id. (quotations and
   16   citations omitted). The key issue is “whether the jobs to be compared have a
   17   common core of tasks.” Id. (internal quotations and citations omitted). The
   18   elements of an equal pay claim under the EPA and CEPA are identical, and
   19   courts use the same analysis for both statutes. See Vega v. Honeywell Int’l, Inc.,
   20   2021 WL 1226483, at *14 (S.D. Cal. Mar. 30, 2021).
   21         As a preliminary matter, Warner alleges that she performed substantially
   22   similar work to employees at the L10 level, who received higher wages.73
   23   Defendants argue that it “cannot be asserted that these two positions, at
   24   different levels, required substantially the same ‘skill, effort, and responsibility’
   25
        70
   26         See, e.g., Amended Complaint ¶ 112.
        71
              Motion 11:10-11.
   27   72
              Opposition 16:3-4.
   28   73
              Amended Complaint ¶¶ 99-106.

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    1   when the purpose of the leveling system is to reflect varying job demands,
    2   supervisory responsibilities, and skills required to perform at each level.”74 That
    3   argument lacks merit. Under Ninth Circuit precedent, “it is actual job
    4   performance requirements, rather than job classifications or titles, that is
    5   determinative.” E.E.O.C. v. Maricopa County Community College Dist., 736 F.2d
    6   510, 513 (9th Cir. 1984) (internal citations omitted).
    7         Warner makes broad and conclusory allegations that her work was
    8   “consistent with an L10 role,” but it lacked the L10 compensation.75 Her
    9   specific allegations are that she and Lavanty shared many of the same
   10   responsibilities.76 However, Warner has not shown that their jobs were
   11   substantially similar. In all sorts of workplaces, employees at different levels
   12   share some of the same responsibilities. Warner does not address whether
   13   Lavanty had additional responsibilities and decision-making power that Warner
   14   lacked. Indeed, Warner acknowledges in her Amended Complaint that once
   15   Lavanty reached the L10 level, he became “her superior,” which implies that
   16   Lavanty had more authority than Warner had.77 Defendants point to that
   17   discrepancy in their Motion,78 and Warner fails to address it in her Opposition.
   18         Warner has therefore failed to allege that she was paid less than male
   19   colleagues despite performing substantially similar work. Warner’s
   20   discrimination claims under the EPA and the CEPA are therefore DISMISSED
   21   with leave to amend.
   22
   23
   24
   25   74
              Motion 13:23-27.
        75
   26         Amended Complaint ¶ 106.
        76
              Id. at ¶¶ 99-105.
   27   77
              Id. at ¶ 109.
   28   78
              Motion 15:9-15.

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    1   C.    Retaliation
    2         Under Title VII, the EPA, the FEHA, and the CEPA, retaliation occurs
    3   when an employer discriminates against an individual for opposing practices
    4   prohibited by each statute. See 42 U.S.C. § 2000e-3 (Title VII); 29 U.S.C.
    5   § 215(a)(3) (EPA); Cal. Gov’t Code § 12940(h) (FEHA); Cal. Lab. Code
    6   § 1197(k)(1) (CEPA). “To establish a claim of retaliation, a plaintiff must prove
    7   that (1) the plaintiff engaged in a protected activity, (2) the plaintiff suffered an
    8   adverse employment action, and (3) there was a causal link between the
    9   plaintiff’s protected activity and the adverse employment action.” Poland v.
   10   Chertoff, 494 F.3d 1174, 1179–80 (9th Cir.2007); see also Strother v. S. Cal.
   11   Permanente Med. Grp., 79 F.3d 859, 868 (9th Cir. 1996) (CEPA has the same
   12   requirements to establish a prima facie case of retaliation). In addition, the
   13   employee must have had a “reasonable belief” that she reported “conduct that
   14   violates Title VII.” ANA Maria Soares v. California, 2016 WL 3519411, at *5
   15   (E.D. Cal. 2015).
   16         “The causal link between a protected activity and the alleged retaliatory
   17   action ‘can be inferred from timing alone’ when there is a close proximity
   18   between the two.” Thomas v. City of Beaverton, 379 F.3d 802, 812 (9th Cir.
   19   2004) (quoting Villiarimo v. Aloha Island Air, Inc., 281 F.3d 1054, 1065 (9th Cir.
   20   2002) (finding that the timing of an employee’s discipline was sufficient to infer
   21   retaliation)). There is no “bright-line rule about the timing of retaliation. There
   22   is no set time beyond which acts cannot support an inference of retaliation, and
   23   there is no set time within which acts necessarily support an inference of
   24   retaliation.” Coszalter v. City of Salem, 320 F.3d 968, 978 (9th Cir. 2003).
   25   “Whether an adverse employment action is intended to be retaliatory is a
   26   question of fact that must be decided in the light of the timing and the
   27   surrounding circumstances.” Id.
   28

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    1         Warner satisfies the first criterion because she alleges that she engaged in
    2   protected activity. In April 2021, Warner raised issues regarding pay disparities
    3   between male and female ProServe employees who were allegedly performing
    4   the same work.79 That same month, Warner’s counsel sent Amazon a letter
    5   detailing Warner’s allegations of Title VII and EPA violations.80 Two months
    6   later, she filed her Complaint, commencing this action.
    7         Warner satisfies the second criterion because she suffered adverse
    8   employment action. Three weeks after Amazon received the letter from
    9   Warner’s counsel, Warner was removed from her job and was effectively given
   10   two months’ notice of termination.81 Her final termination came only one
   11   month after she filed her Complaint.82
   12         Warner fails, however, to satisfy the third criterion. “Essential to a causal
   13   link is evidence that the employer was aware that the plaintiff had engaged in the
   14   protected activity.” Cohen v. Fred Meyer, Inc., 686 F.2d 793, 796 (9th Cir. 1982).
   15   Warner’s Amended Complaint does not allege that Weatherby knew of the
   16   above-mentioned protected activity.83 Instead, Warner assets only that Amazon
   17   knew of the protected activity. Because Weatherby was the purported decision-
   18   maker with respect to Warner’s termination,84 and because Warner fails to
   19
        79
   20         Amended Complaint ¶ 54.
        80
              Id. at ¶ 140. In her Opposition, Warner argues that she engaged in
   21   protected activity when she complained to Weatherby about Lavanty’s actions
        toward her. Opposition 19:1-5. The Amended Complaint does not indicate that
   22   Warner engaged in protected activity when she addressed Lavanty’s actions
        because she did not complain that she was being discriminated against on
   23   account of her gender. See, e.g., Amended Complaint ¶¶ 108, 137, & 138.
        Similarly, the Complaint does not sufficiently allege that Warner engaged in
   24   protected activity when she “objected to Mr. Weatherby’s attempts to silence
        the employees of Women@ProServe.” Id. at ¶ 116.
   25   81
              Amended Complaint ¶¶ 141-45.
   26   82
              Id. at ¶ 172.
        83
   27         See, e.g., id. at ¶¶ 54 & 140.
        84
              Warner acknowledges that Weatherby was the decision-maker with
   28   respect to her termination. See, e.g., Opposition 22:6-8.

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    1   allege that Weatherby had knowledge of Warner’s protected activity, Warner
    2   has not sufficiently alleged retaliation. Accordingly, Warner’s claims for
    3   retaliation are DISMISSED with leave to amend.
    4   D.    Claims Against Weatherby
    5         Warner alleges that Weatherby aided and abetted in violation of FEHA.85
    6   Because the Court holds that Warner has not sufficiently alleged FEHA
    7   violations, the Court must also hold that she has not sufficiently alleged aiding
    8   and abetting FEHA violations. See Trujillo v. N. Cnty. Transit Dist., 63
    9   Cal. App. 4th 280, 289 (1998) (“[T]here’s no logic that says an employee who
   10   has not been discriminated against can sue an employer for not preventing
   11   discrimination that didn’t happen, for not having a policy to prevent
   12   discrimination when no discrimination occurred.”).
   13         Because the Court has dismissed all other claims, it need not decide
   14   whether Weatherby is liable in his individual capacity. Warner’s claims against
   15   Weatherby are therefore DISMISSED with leave to amend.
   16                                 IV. CONCLUSION
   17         For the foregoing reasons, the Court hereby ORDERS as follows:
   18         1.     Defendants’ instant Motion to Dismiss is GRANTED.
   19         2.     Warner’s Amended Complaint is DISMISSED with leave to
   20   amend.
   21         3.     Warner is DIRECTED to file an amended pleading, if at all, no
   22   later than July 22, 2022. If Warner chooses to file an amended pleading, then
   23   she is also DIRECTED to file contemporaneously therewith a Notice of
   24   Revisions to Amended Complaint that provides the Court with a redline version
   25   that shows the amendments. If Plaintiff fails to file her amended pleading by
   26
   27
   28   85
              Amended Complaint ¶¶ 207-211.

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